Case 6:11-cr-02025-CJW-MAR   Document 408   Filed 12/26/12   Page 1 of 7
Case 6:11-cr-02025-CJW-MAR   Document 408   Filed 12/26/12   Page 2 of 7
Case 6:11-cr-02025-CJW-MAR   Document 408   Filed 12/26/12   Page 3 of 7
Case 6:11-cr-02025-CJW-MAR   Document 408   Filed 12/26/12   Page 4 of 7
Case 6:11-cr-02025-CJW-MAR   Document 408   Filed 12/26/12   Page 5 of 7
Case 6:11-cr-02025-CJW-MAR   Document 408   Filed 12/26/12   Page 6 of 7
Case 6:11-cr-02025-CJW-MAR   Document 408   Filed 12/26/12   Page 7 of 7
